                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 1 of 18
                                                                                                                                         19




                                                                     1   PUOY K. PREMSRIRUT, ESQ.
                                                                         Nevada Bar No. 7141
                                                                     2   PUOY K. PREMSRIRUT, ESQ., INC.
                                                                         520 S. Fourth Street, Second Floor
                                                                     3   Las Vegas, NV 89101
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                                                                         NICOLE E. LOVELOCK, ESQ.
                                                                     6   Nevada State Bar No. 11187
                                                                         MARTA D. KURSHUMOVA, ESQ.
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                                                                     8   6675 S. Tenaya Way, Suite 200
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PUOY K. PREMSRIRUT, ESQ., INC.




                                                                    11
                                                                         Attorneys for Defendant Cheyenne Medical, LLC
                          Tel: (702) 384-5563 Fax: (702) 385-6965




                                                                    12   d/b/a Thrive Cannabis Marketplace
                              520 South 4th Street | Second Floor
                                  Las Vegas, Nevada 89101




                                                                    13

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                                                                    15                               UNITED STATES DISTRICT COURT
                                                                    16                                       DISTRICT OF NEVADA
                                                                    17   ANGELIA LILLY, Individually and on behalf of
                                                                         others similarly situated,                          CASE NO.: 2:20-cv-01051-APG-BNW
                                                                    18
                                                                                                Plaintiff,
                                                                    19   v.                                                  STIPULATED PROTECTIVE ORDER
                                                                    20   CHEYENNE MEDICAL LLC, d/b/a THRIVE
                                                                         CANNABIS MARKETPLACE,
                                                                    21
                                                                                               Defendant.
                                                                    22

                                                                    23          Plaintiff and Defendant, by and through their respective counsel, hereby enter into this
                                                                    24   Stipulated Confidentiality Agreement and Protective Order (the “Stipulated Protective Order”), as
                                                                    25   follows:
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 2 of 18
                                                                                                                                         19




                                                                     1          1.      The Parties anticipate that they and certain non-parties may be required to produce
                                                                     2   documents, information, or evidence that relates to non-public financial and personal information.
                                                                     3   This Stipulated Protective Order is designed to protect such information from public disclosure.
                                                                     4          2.      In this Stipulated Protective Order, the words set forth below shall have the
                                                                     5   following meanings:
                                                                     6                  a.     “Court” means the judge to which the Proceeding may be assigned,
                                                                     7                         including Court staff participating in such proceedings.
                                                                     8                  b.     “Confidential” means any documents, testimony, or information that a
                                                                     9                         Designating Party believes in good faith contains or reveals nonpublic
                                                                    10                         personal information.
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                                                                    11                  c.     “Confidential Materials” means any documents, testimony, or information,
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                                                                    12                         designated as Confidential pursuant to the provisions of this Stipulated
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                                  Las Vegas, Nevada 89101




                                                                    13                         Protective Order.
                                                                    14                  d.     “Days” shall mean all calendar days, and not merely business days.
                                                                    15                  e.     “Designating Party” means the Party or non-party that designates
                                                                    16                         documents, testimony, or information as Confidential.
                                                                    17                  f.     “Disclose” or “Disclosed” or “Disclosure” or “Disclosing” means to reveal,
                                                                    18                         divulge, give, or make available all or any part of documents, testimony, or
                                                                    19                         information.
                                                                    20                  g.     “Highly Confidential Materials” means any documents, testimony, or
                                                                    21                         information which a Designating Party believes in good faith contains or
                                                                    22                         reveals highly confidential trade secrets, proprietary business information,
                                                                    23                         nonpublic personal, client, or customer information, or information that is
                                                                    24                         prohibited from disclosure to a third party by a confidentiality agreement
                                                                    25                         between a party and any third party. If a Designating Party reasonably
                                                                    26                         believes disclosure would create a substantial risk of serious financial or
                                                                    27                         other injury if disclosed to persons other than those permitted to receive
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 3 of 18
                                                                                                                                         19




                                                                     1                          Highly Confidential Materials pursuant to this Stipulated Protective Order,
                                                                     2                          the parties agree that such risk cannot be avoided by less restrictive means.
                                                                     3                  h.      “Proceeding” means the above-captioned case no. 2:20-cv-00493-RFB-
                                                                     4                          DJA, currently pending in the United States District Court, District of
                                                                     5                          Nevada.
                                                                     6          3.      Highly Confidential Materials or Confidential Materials or the substance or context
                                                                     7   thereof, including any notes, memoranda, or other similar documents relating thereto or derived
                                                                     8   therefrom, shall not be Disclosed or summarized in a fashion that discloses the substance of the
                                                                     9   confidential information, either in writing or orally, by a receiving Party to anyone other than
                                                                    10   persons permitted to have access to such information under this Stipulated Protective Order.
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                                                                    11   Nothing in this Stipulated Protective Order shall limit disclosure or use by a Designating Party of
                          Tel: (702) 384-5563 Fax: (702) 385-6965




                                                                    12   its own Highly Confidential Materials or Confidential Materials.
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                                  Las Vegas, Nevada 89101




                                                                    13          4.      Except as set forth explicitly herein, the entry of this Stipulated Protective Order
                                                                    14   does not alter, waive, modify, or abridge any right, privilege, or protection otherwise available to
                                                                    15   any Party or non-party with respect to the discovery of matters, including but not limited to any
                                                                    16   Party’s or non-party’s right to assert the attorney-client privilege, the attorney work product
                                                                    17   doctrine, or other privileges, or any Party’s right to contest any such assertion.
                                                                    18          5.      Any documents, testimony, or information to be designated as Highly Confidential
                                                                    19   or Confidential must be clearly so designated before the document, testimony, or information is
                                                                    20   Disclosed or produced. The Highly Confidential or Confidential designation should not obscure or
                                                                    21   interfere with the legibility of the designated information.
                                                                    22                  a.      For documents or TIFF images (apart from written discovery, transcripts of
                                                                    23                          depositions, or transcripts of other pretrial or trial proceedings), the
                                                                    24                          Designating Party must affix the legend Highly Confidential or Confidential
                                                                    25                          on each page of any document or TIFF image containing such designated
                                                                    26                          material. Notwithstanding the foregoing, Excel documents or any other type
                                                                    27                          of electronically stored information produced in native format (“Natively
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 4 of 18
                                                                                                                                         19




                                                                     1                    Produced ESI”) containing Highly Confidential or Confidential information
                                                                     2                    need not be produced using a means sufficient to ensure that every page of
                                                                     3                    such document, when printed, contains the appropriate mark or stamp.
                                                                     4                    Instead, the Designating Party shall use reasonable means to designate as
                                                                     5                    Highly Confidential or Confidential such Natively Produced ESl, including,
                                                                     6                    where applicable and/or practicable, by (i) producing a TIFF placeholder
                                                                     7                    image corresponding to the Natively Produced ESI that includes the Highly
                                                                     8                    Confidential or Confidential mark; (ii) including Highly Confidential or
                                                                     9                    Confidential in the file name of the Natively Produced ESI; or (iii) including
                                                                    10                    Highly Confidential or Confidential on the label of the media or in the
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                                                                    11                    production letter for the Natively Produced ESI.
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                                                                    12              b.    For written discovery in which Highly Confidential or Confidential
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                                  Las Vegas, Nevada 89101




                                                                    13                    information is incorporated in answers to interrogatories, responses to
                                                                    14                    requests for admission, or other written discovery, the Designating Party
                                                                    15                    must affix the legend Highly Confidential or Confidential on the first page
                                                                    16                    of the written discovery and on each page containing answers or responses
                                                                    17                    that contain such designated material.
                                                                    18              c.    For testimony given in depositions, the Designating Party must make
                                                                    19                    reasonable efforts to designate as Highly Confidential or Confidential those
                                                                    20                    specific portions of a deposition transcript that contain such designated
                                                                    21                    material. The entire transcript of a deposition shall be treated as Highly
                                                                    22                    Confidential until seven (7) days after receipt of the deposition transcript by
                                                                    23                    counsel for the witness, after which time the information revealed during the
                                                                    24                    deposition shall cease to be treated as Highly Confidential unless, at the
                                                                    25                    deposition and on the record, or in writing before the seven (7) days have
                                                                    26                    expired, the witness, his or her current or former employer, or their counsel
                                                                    27                    designates those portions of the deposition transcript as either Highly
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 5 of 18
                                                                                                                                         19




                                                                     1                         Confidential or Confidential. With regard to designations made within
                                                                     2                         seven (7) days after receipt of the deposition transcript, counsel shall make
                                                                     3                         such designations by sending written notice to counsel for the Parties and to
                                                                     4                         any other person known to have a copy of said transcript identifying the
                                                                     5                         pages and lines so designated. All copies of transcripts designated in this
                                                                     6                         fashion shall be governed by the terms of this Stipulated Protective Order.
                                                                     7                         Notwithstanding the foregoing, in the event that (i) a document produced
                                                                     8                         and designated by a non-party as Highly Confidential or Confidential is used
                                                                     9                         as an exhibit in a deposition and (ii) counsel for the non-party is not present
                                                                    10                         at the deposition, the Parties agree that the exhibit remains designated either
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                                                                    11                         Highly Confidential or Confidential and that any testimony concerning the
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                                                                    12                         exhibit shall be deemed to have been designated in writing as Highly
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                                  Las Vegas, Nevada 89101




                                                                    13                         Confidential or Confidential, as is required in this Paragraph.
                                                                    14                 d.      For information produced in some form other than documents, and for any
                                                                    15                         other tangible items, the Designating Party must affix in a prominent place
                                                                    16                         on the exterior of the container or containers in which the information or
                                                                    17                         item is stored the legend Highly Confidential or Confidential. If only
                                                                    18                         portions of the information or item warrant protection, the Designating
                                                                    19                         Party, to the extent practicable, shall identify the Highly Confidential or
                                                                    20                         Confidential portions.
                                                                    21          6.     The inadvertent production by any of the undersigned Parties or any non-parties of
                                                                    22   any document, testimony, or information during discovery in the Proceeding without a Highly
                                                                    23   Confidential or Confidential designation shall be without prejudice to any claim that such item is
                                                                    24   Highly Confidential or Confidential, and such Party or non-party shall not be held to have waived
                                                                    25   any rights by such inadvertent production.      In the event that any document, testimony, or
                                                                    26   information that is subject to a Highly Confidential or Confidential designation is inadvertently
                                                                    27   produced without such designation, the Party or non-party that inadvertently produced the
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 6 of 18
                                                                                                                                         19




                                                                     1   document shall promptly give written notice of such inadvertent production, identify (by
                                                                     2   production number) the affected material, and provide a new copy of the subject document,
                                                                     3   testimony, or information designated as Highly Confidential or Confidential (the “Inadvertent
                                                                     4   Production Notice”). Upon receipt of such Inadvertent Production Notice, the Party that received
                                                                     5   the inadvertently produced document, testimony, or information shall promptly make reasonable
                                                                     6   efforts to destroy the inadvertently produced document, testimony, or information and all copies
                                                                     7   thereof, and shall notify the producing Party or non-party in writing of such destruction within
                                                                     8   fourteen (14) days of receipt of the Inadvertent Production Notice. Notwithstanding the foregoing,
                                                                     9   if the receiving Party disclosed such document, testimony, or information to persons not authorized
                                                                    10   to receive that information before receipt of the Highly Confidential or Confidential designation,
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                                                                    11   such Disclosure shall not be deemed a violation of this Stipulated Protective Order. In the event
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                                                                    12   the receiving Party receives an Inadvertent Production Notice, the receiving Party shall either make
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                                                                    13   reasonable efforts to promptly retrieve the document, testimony, or information or shall promptly
                                                                    14   notify the Designating Party of the distribution and the identity of the person who received the
                                                                    15   Information. Any Party may object to the Highly Confidential or Confidential designation of
                                                                    16   documents, testimony, or information pursuant to the procedures set forth in Paragraph 7 of this
                                                                    17   Stipulated Protective Order. This provision is not intended to apply to any inadvertent production
                                                                    18   of any document, testimony, or information protected by attorney-client or work product privileges.
                                                                    19          7.      In the event that counsel for a Party receiving documents, testimony, or information
                                                                    20   in discovery designated as Highly Confidential or Confidential objects to such designation with
                                                                    21   respect to any or all of such items, said counsel shall advise counsel for the Designating Party, in
                                                                    22   writing, of such objections, setting forth the specific documents, testimony, or information to which
                                                                    23   each objection pertains and the specific reasons and support for such objections (the “Designation
                                                                    24   Objections”). Counsel for the Designating Party shall have fourteen (14) calendar days after
                                                                    25   service of the written Designation Objections to meet and confer with the objecting Party in an
                                                                    26   attempt to resolve the Designation Objections. If the parties are not able to resolve the dispute
                                                                    27   during the meet-and-confer process, the Designating Party may then, after advising the Objecting
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 7 of 18
                                                                                                                                         19




                                                                     1   Party, file a motion with the Court seeking to preserve any or all designations on documents,
                                                                     2   testimony, or information addressed by the Designation Objections (the “Designation Motion”).
                                                                     3   Pending a resolution of the Designation Motion by the Court, any and all existing designations on
                                                                     4   the documents, testimony, or information at issue in such Designation Motion shall remain in place.
                                                                     5   The Designating Party shall have the burden on any Designation Motion of establishing the
                                                                     6   applicability of its Highly Confidential or Confidential designation.         In the event that the
                                                                     7   Designating Party does not timely respond to the Designation Objections, then such documents,
                                                                     8   testimony, or information shall be de-designated in accordance with the Designation Objections
                                                                     9   applicable to such material. The failure of a receiving Party expressly to challenge the designation
                                                                    10   of any documents, testimony, or information as Highly Confidential or Confidential at the time of
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                                                                    11   Disclosure shall not constitute a waiver of the right to challenge the designation at any subsequent
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                                                                    12   time.
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                                                                    13           8.     Access to and/or Disclosure of Confidential Materials shall be permitted only to the
                                                                    14   following persons or entities:
                                                                    15                  a.      the Court;
                                                                    16                  b.      the Parties;
                                                                    17                  c.      (i) attorneys of record in the Proceeding and attorneys at the same firm(s) as
                                                                    18                          the attorneys of record, along with their paralegal, clerical, secretarial, and
                                                                    19                          other support staff; and (ii) in-house counsel to the undersigned Parties and
                                                                    20                          their paralegal, clerical, secretarial, and other support staff; provided,
                                                                    21                          however, that each non-lawyer given access to Confidential Materials shall
                                                                    22                          be advised that such materials are being Disclosed pursuant to, and are
                                                                    23                          subject to, the terms of this Stipulated Protective Order and that they may
                                                                    24                          not be Disclosed other than pursuant to its terms;
                                                                    25                  d.      those current officers, directors, partners, members, employees, advisors,
                                                                    26                          attorneys, and agents of a non-designating Party that the attorneys of record
                                                                    27                          for such Party deem necessary to aid in the prosecution or defense of the
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 8 of 18
                                                                                                                                         19




                                                                     1                    Proceeding; provided, however, that each such current officer, director,
                                                                     2                    partner, member, employee, advisor, attorney or agent given access to
                                                                     3                    Confidential Materials shall be advised that such materials are being
                                                                     4                    Disclosed pursuant to, and are subject to, the terms of this Stipulated
                                                                     5                    Protective Order and that they may not be Disclosed other than pursuant to
                                                                     6                    its terms;
                                                                     7              e.    those former officers, directors, partners, members, employees, advisors,
                                                                     8                    attorneys and agents of a non-designating Parties that the attorneys of record
                                                                     9                    for such Party deem necessary to aid in the prosecution or defense of the
                                                                    10                    Proceeding; provided, however, that prior to the Disclosure of Confidential
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                                                                    11                    Materials to any such former officer, director, partner, member, employee,
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                                                                    12                    advisor, or agent, counsel for the Party making the Disclosure shall deliver
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                                                                    13                    a copy of this Stipulated Protective Order to such person, shall explain that
                                                                    14                    such person is bound to follow the terms of such Order, and shall secure the
                                                                    15                    signature of such person on a statement in the form attached hereto as
                                                                    16                    Exhibit A;
                                                                    17              f.    court reporters in the Proceeding (whether at depositions, hearings, or any
                                                                    18                    other proceeding) and deposition videographers in the Proceeding;
                                                                    19              g.    any mediator or other facilitator of alternative dispute resolution engaged by
                                                                    20                    the Parties in the Proceeding; provided, however, that each such mediator or
                                                                    21                    other facilitator given access to Confidential Materials shall be advised that
                                                                    22                    such materials are being Disclosed pursuant to, and are subject to, the terms
                                                                    23                    of this Stipulated Protective Order and that they may not be Disclosed other
                                                                    24                    than pursuant to its terms;
                                                                    25              h.    any deposition, trial, or hearing witness in the Proceeding (however, should
                                                                    26                    the designating party require, it may request for such witness to execute the
                                                                    27                    Exhibit A);
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 9 of 18
                                                                                                                                         19




                                                                     1              i.    any deposition, trial, or hearing witness in the Proceeding who previously
                                                                     2                    did not have access to the Confidential Materials; provided, however, that
                                                                     3                    each such witness given access to Confidential Materials shall be advised
                                                                     4                    that such materials are being Disclosed pursuant to, and are subject to, the
                                                                     5                    terms of this Stipulated Protective Order and that they may not be Disclosed
                                                                     6                    other than pursuant to its terms;
                                                                     7              j.    mock jury participants (including facilitators of the mock jury exercise),
                                                                     8                    provided, however, that prior to the Disclosure of Confidential Materials to
                                                                     9                    any such mock jury participant, counsel for the Party making the Disclosure
                                                                    10                    shall deliver a copy of this Stipulated Protective Order to such person, shall
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                                                                    11                    explain that such person is bound to follow the terms of such Order, and
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                                                                    12                    shall secure the signature of such person on a statement in the form attached
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                                                                    13                    hereto as Exhibit A.
                                                                    14              k.    outside experts or expert consultants consulted by the undersigned Parties or
                                                                    15                    their counsel in connection with the Proceeding, whether or not retained to
                                                                    16                    testify at any deposition, trial, or hearing; provided, however, that prior to
                                                                    17                    the Disclosure of Confidential Materials to any such expert or expert
                                                                    18                    consultant, counsel for the Party making the Disclosure shall deliver a copy
                                                                    19                    of this Stipulated Protective Order to such person, and shall secure the
                                                                    20                    signature of such person on a statement in the form attached hereto as
                                                                    21                    Exhibit A; and
                                                                    22              l.    any other person or entity that the Designating Party agrees to in writing or
                                                                    23                    on the record at a deposition or hearing.
                                                                    24   / / /
                                                                    25   / / /
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 10 of 18
                                                                                                                                          19




                                                                     1           9.     Access to and/or Disclosure of Highly Confidential Materials shall be permitted
                                                                     2   only to the following persons or entities:
                                                                     3                  a.      the Court;
                                                                     4                  b.      attorneys of record in the Proceeding and attorneys at the same firm(s) as the
                                                                     5                          attorneys of record, along with their paralegal, clerical, secretarial, and other
                                                                     6                          support staff;
                                                                     7                  c.      experts or consultants (together with their clerical staff), however the experts
                                                                     8                          or consultants relying on or incorporating Highly Confidential Materials in
                                                                     9                          their reports, the reports shall be marked Highly Confidential, and such
                                                                    10                          experts and consultants shall be consulted by counsel in connection with the
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                                                                    11                          Proceeding, whether or not retained to testify at any deposition, trial, or
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                                                                    12                          hearing; provided, however, that prior to the Disclosure of Highly
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                                                                    13                          Confidential Materials to any such expert or consultant, counsel for the Party
                                                                    14                          making the Disclosure shall deliver a copy of this Stipulated Protective
                                                                    15                          Order to such person, shall explain its terms to such person, and shall secure
                                                                    16                          the signature of such person on a statement in the form attached hereto as
                                                                    17                          Exhibit A;
                                                                    18                  d.      For avoidance of doubt, the Parties understand that Highly Confidential
                                                                    19                          Materials shall not be used for business advantage or competitive purposes,
                                                                    20                          nor distributed to any other person or entity other than described in
                                                                    21                          Paragraph 9 (a)-(c).
                                                                    22           10.    To the extent counsel for a Party obtains signed agreements in the form attached
                                                                    23   hereto as Exhibit A in accordance with Paragraphs 8 or 9 above, counsel shall retain the signed
                                                                    24   agreements for six months following the final termination of the Proceeding, including any appeals,
                                                                    25   and shall make them available to other Parties upon good cause shown.
                                                                    26   / / /
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 11 of 18
                                                                                                                                          19




                                                                     1          11.     Each receiving Party shall use due care with respect to the storage, custody, use,
                                                                     2   and/or Disclosure of Highly Confidential or Confidential Materials. A person with custody of
                                                                     3   documents designated as Highly Confidential or Confidential shall maintain them in a manner that
                                                                     4   limits access to those persons entitled under this Stipulated Protective Order to examine the
                                                                     5   documents so designated.
                                                                     6          12.     If counsel for a Party learns of any breach of this Stipulated Protective Order by any
                                                                     7   person to whom the Party Disclosed Highly Confidential or Confidential information pursuant to
                                                                     8   the terms of this Stipulated Protective Order, the Party shall promptly notify counsel for the
                                                                     9   Designating Party of such breach.
                                                                    10          13.     Highly Confidential or Confidential Materials shall be used by the persons or
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                                                                    11   entities receiving them only for the purposes of preparing for, conducting, participating in the
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                                                                    12   conduct of, prosecuting and/or defending, appealing, and/or attempting to settle the Proceeding,
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                                                                    13   and not for any business or other purpose whatsoever.
                                                                    14          14.     Any Party to the Proceeding (or other person subject to the terms of this Stipulated
                                                                    15   Protective Order) may ask the Court, after appropriate notice to the other Parties to the Proceeding,
                                                                    16   to modify or grant relief from any provision of this Stipulated Protective Order.
                                                                    17          15.     Entering into, agreeing to, and/or complying with the terms of this Stipulated
                                                                    18   Protective Order shall not:
                                                                    19                  a.      operate as an admission by any person that any particular document,
                                                                    20                          testimony, or information marked Highly Confidential or Confidential
                                                                    21                          contains or reflects trade secrets, proprietary, confidential or competitively
                                                                    22                          sensitive business, commercial, financial or personal information; or
                                                                    23                  b.      prejudice in any way the right of any Party (or any other person subject to
                                                                    24                          the terms of this Stipulated Protective Order) to seek:
                                                                    25                        i.       a determination by the Court of whether any particular Highly
                                                                    26                                 Confidential or Confidential Materials should be subject to
                                                                    27                                 protection under the terms of this Stipulated Protective Order; or
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 12 of 18
                                                                                                                                          19




                                                                     1                        ii.       relief from the Court on appropriate notice to all other Parties to the
                                                                     2                                  Proceeding from any provision(s) of this Stipulated Protective Order,
                                                                     3                                  either generally or as to any particular document, material, or
                                                                     4                                  information.
                                                                     5          16.     As set forth above, any documents, testimony, or information produced by a non-
                                                                     6   party witness in discovery in the Proceeding pursuant to subpoena or otherwise may be designated
                                                                     7   by such non-party as Highly Confidential or Confidential under the terms of this Stipulated
                                                                     8   Protective Order, and any such designation by a non-party shall have the same force and effect,
                                                                     9   and create the same duties and obligations, as if made by one of the undersigned Parties hereto.
                                                                    10   Documents produced by a non-party witness in discovery may also be designated by a Party as
PUOY K. PREMSRIRUT, ESQ., INC.




                                                                    11   Confidential if the information produced pertains to the Designating Party’s Highly Confidential
                          Tel: (702) 384-5563 Fax: (702) 385-6965




                                                                    12   or Confidential Materials.     To avoid inadvertent disclosure of such Highly Confidential or
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                                  Las Vegas, Nevada 89101




                                                                    13   Confidential Materials, any documents produced by a non-party shall be treated by the Parties as
                                                                    14   Highly Confidential for a period of seven (7) days from production so that the Parties can review
                                                                    15   and make Highly Confidential or Confidential designations, if any.
                                                                    16          17.     If any person subject to this Stipulated Protective Order who has custody of any
                                                                    17   Highly Confidential or Confidential Materials receives a subpoena or other process (“Subpoena”)
                                                                    18   from any government or other person or entity demanding production of such materials, the
                                                                    19   recipient of the Subpoena shall promptly give notice of the same by email transmission and shall
                                                                    20   furnish such counsel with a copy of the Subpoena. Upon receipt of this notice, the Designating
                                                                    21   Party may, in its sole discretion and at its own cost, move to quash or limit the Subpoena, otherwise
                                                                    22   oppose production of the Highly Confidential or Confidential Materials, and/or seek to obtain
                                                                    23   confidential treatment of such materials from the subpoenaing person or entity to the fullest extent
                                                                    24   available under law. The recipient of the Subpoena may not produce any Highly Confidential or
                                                                    25   Confidential Materials unless and until a court of competent jurisdiction so directs, except if the
                                                                    26   Designating Party: (a) consents, or (b) fails to file a motion to quash or fails to notify the recipient
                                                                    27   of the Subpoena in writing of its intention to contest the production of the Highly Confidential or
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 13 of 18
                                                                                                                                          19




                                                                     1   Confidential Materials prior to the date specified for production on the Subpoena, in which event
                                                                     2   the recipient of the Subpoena may produce on the designated production date, but no earlier. The
                                                                     3   recipient of the Subpoena shall be entitled to comply with it except to the extent the Designating
                                                                     4   Party asserting the confidential treatment is successful in obtaining an order or agreement
                                                                     5   modifying or quashing it.
                                                                     6           18.    If, after execution of this Stipulated Protective Order, any Highly Confidential or
                                                                     7   Confidential Materials submitted by a Designating Party under the terms of this Stipulated
                                                                     8   Protective Order are Disclosed by a non-Designating Party to any person other than in the manner
                                                                     9   authorized by this Stipulated Protective Order, the non-Designating Party responsible for the
                                                                    10   Disclosure shall bring all pertinent facts relating to the Disclosure of such Highly Confidential or
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                                                                    11   Confidential Materials to the immediate attention of the Designating Party.
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                                                                    12           19.    The restrictions and obligations set forth in this Stipulated Protective Order relating
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                                                                    13   to information designated Highly Confidential or Confidential shall not apply to any information
                                                                    14   that (a) the Designating Party agrees, or the Court rules, is already public knowledge; or (b) the
                                                                    15   Designating Party agrees, or the Court rules, has become public knowledge other than as a result
                                                                    16   of Disclosure by a receiving Party in violation of this Stipulated Protective Order. This Stipulated
                                                                    17   Protective Order is entered into without prejudice to the right of any Party to knowingly waive the
                                                                    18   applicability of this Stipulated Protective Order to any Highly Confidential or Confidential
                                                                    19   Materials designated by that Party.      If the Designating Party uses Highly Confidential or
                                                                    20   Confidential Materials in a non-Confidential manner, then the Designating Party shall advise that
                                                                    21   the designation no longer applies.
                                                                    22           20.    Where any Highly Confidential or Confidential Materials, or information derived
                                                                    23   therefrom, is to be included in any motion or other submission to the Court, the Party making the
                                                                    24   motion or other submission (the “Moving Party”) shall comply with the United States District
                                                                    25   Court, District of Nevada’s Local Rule LR IA 10-5 for filing documents under seal.
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                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 14 of 18
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                                                                     1          21.     Where use of designated Highly Confidential or Confidential Materials at trial can
                                                                     2   be anticipated, the party intending to make use of such information at trial shall meet and confer
                                                                     3   prior to or as part of preparing the pre-trial memorandum, of its intent to use the specified Highly
                                                                     4   Confidential or Confidential Material at trial. If the issue of the designation and use of the
                                                                     5   designated information at trial is not resolved through good faith consultation, the party designating
                                                                     6   the material as Highly Confidential or Confidential Material shall, within fourteen (14) days of the
                                                                     7   parties’ pre-trial conference or at the time of filing the pre-trial memorandum, whichever may be
                                                                     8   earlier, file and serve a noticed motion to resolve the dispute over the designation of the Highly
                                                                     9   Confidential or Confidential Materials and preclusion or restriction of its use at trial.
                                                                    10          22.     Nothing in this Stipulated Protective Order shall affect the admissibility into
PUOY K. PREMSRIRUT, ESQ., INC.




                                                                    11   evidence of Highly Confidential or Confidential Materials or abridge the rights of any person to
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                                                                    12   seek judicial review or to pursue other appropriate judicial action with respect to any ruling made
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                                  Las Vegas, Nevada 89101




                                                                    13   by the Court concerning the issue of the status of any Highly Confidential or Confidential Materials.
                                                                    14          23.     The inadvertent Disclosure in the Proceeding of documents, testimony, or
                                                                    15   information that the Disclosing Party or non-party believes is protected by the attorney-client
                                                                    16   privilege, the work product doctrine, or any other privilege or immunity from discovery shall not
                                                                    17   constitute a waiver with respect to such privilege or immunity. In the event of an inadvertent
                                                                    18   Disclosure of allegedly privileged information, the Disclosing Party or non-party may provide
                                                                    19   notice in writing to the receiving Party or Parties advising of the inadvertent disclosure, requesting
                                                                    20   return of the allegedly privileged information, and asserting the basis of the clawback request. Upon
                                                                    21   such notice, the receiving Party or Parties shall make no further use of the allegedly privileged
                                                                    22   information, shall immediately segregate the information in a manner that will prevent any further
                                                                    23   Disclosure or dissemination, and shall take reasonable steps to retrieve the information to the extent
                                                                    24   it was Disclosed or disseminated prior to receipt of the notice. Within fourteen (14) days of
                                                                    25   receiving the notice of inadvertent Disclosure, the receiving Party shall return all allegedly
                                                                    26   privileged information in its possession, custody, or control, or shall provide written confirmation
                                                                    27   that such information has been deleted and shall not use the knowledge gleaned or obtained from
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                                                                         Case 2:20-cv-01051-APG-BNW Document 17
                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 15 of 18
                                                                                                                                          19




                                                                     1   the inadvertent Disclosure for any purpose, including compelling disclosure of the information.
                                                                     2   Within twenty-one (21) days of providing the notice of inadvertent Disclosure, or as otherwise
                                                                     3   agreed, the Disclosing Party or non-party shall provide the receiving Party or Parties with a
                                                                     4   privilege log identifying the allegedly privileged information that was inadvertently Disclosed and
                                                                     5   the asserted grounds for privilege. Privileged information that relates to the Proceeding and was
                                                                     6   created on or after the commencement of the action, need not be identified on any privilege log.
                                                                     7   The return of any discovery material to the Disclosing Party or non-party shall not in any way
                                                                     8   preclude the receiving Party from moving the Court for a ruling that the Disclosed information was
                                                                     9   never privileged or otherwise immune from discovery. In the event there is a dispute over whether
                                                                    10   the Information at issue is protected from Disclosure by virtue of a privilege or immunity from
PUOY K. PREMSRIRUT, ESQ., INC.




                                                                    11   discovery, counsel shall undertake reasonable, good-faith efforts to resolve the issue without Court
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                                                                    12   intervention. To the extent counsel cannot resolve the issue, any receiving Party may bring a
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                                                                    13   motion to compel production of the allegedly privileged information, and the Party or non-party
                                                                    14   asserting the privilege shall bear the burden of persuasion with respect to the applicability of the
                                                                    15   privilege. Allegedly privileged information shall remain protected against Disclosure and use
                                                                    16   during the pendency of any dispute over its status. This agreement shall not alter any Parties’ duties
                                                                    17   or obligations under Nevada Rule of Professional Conduct 4.4.
                                                                    18          24.     This Stipulated Protective Order shall continue to be binding after the conclusion of
                                                                    19   the Proceeding and all appeals of the Proceeding, except that a Party may seek the written
                                                                    20   permission of the Designating Party or may move the Court for relief from the provisions of this
                                                                    21   Stipulated Protective Order. To the extent permitted by law, the Court shall retain jurisdiction to
                                                                    22   enforce, modify, or reconsider this Stipulated Protective Order, even after the Proceeding is
                                                                    23   terminated.
                                                                    24          25.     Upon request of the Designating Party in writing, within sixty (60) days after the
                                                                    25   final conclusion of all aspects of the Proceeding by judgment not subject to further appeal or by
                                                                    26   settlement, the undersigned Parties shall either return to counsel for each Designating Party or
                                                                    27   destroy all Highly Confidential or Confidential Materials, and all copies thereof (except that
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                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 16 of 18
                                                                                                                                          19




                                                                     1   counsel for each Party may maintain in its files, in continuing compliance with the terms of this
                                                                     2   Stipulated Protective Order, all work product, one copy of each pleading filed with the Court, and
                                                                     3   one copy of each deposition together with the exhibits marked at the deposition, in compliance
                                                                     4   with the Nevada Rules of Professional Conduct and Nevada law). Upon request of the Designating
                                                                     5   Party, at the conclusion of the sixty (60)-day period, counsel for each Party shall produce to the
                                                                     6   other Parties a certification stating that the Party has either returned or destroyed all applicable
                                                                     7   Highly Confidential or Confidential Materials in accordance with this Stipulated Protective Order.
                                                                     8           26.    After this Stipulated Protective Order has been signed by counsel for all Parties, it
                                                                     9   shall be presented to the Court for entry. Counsel agree to be bound by the terms set forth herein
                                                                    10   with regard to any Highly Confidential or Confidential Materials that have been produced before
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                                                                    11   the Court signs this Stipulated Protective Order.
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                                                                    12           27.    The Parties and all signatories to the Certification attached hereto as Exhibit A agree
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                                                                    13   to be bound by this Stipulated Protective Order pending its approval and entry by the Court. In the
                                                                    14   event that the Court modifies this Stipulated Protective Order, or in the event that the Court enters
                                                                    15   a different Protective Order, the Parties agree to be bound by this Stipulated Protective Order until
                                                                    16   such time as the Court may enter such a different Order. It is the Parties’ intent to be bound by the
                                                                    17   terms of this Stipulated Protective Order pending its entry so as to allow for immediate production
                                                                    18   of Highly Confidential or Confidential Materials under the terms herein.
                                                                    19           28.    The Parties may execute and acknowledge this Stipulated Protective Order in
                                                                    20   multiple counterparts, and if executed in such manner, it shall be valid and binding as if all Parties
                                                                    21   had executed the same original.
                                                                    22   / / /
                                                                    23   / / /
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                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 17 of 18
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                                                                     1          29.     This Stipulated Protective Order shall remain in full force and effect until modified,
                                                                     2   superseded, or terminated by consent of the Parties or by Order of the Court, and shall survive the
                                                                     3   termination of the Proceeding.
                                                                     4   DATED this 15th day of October 2020.           DATED this 15th day of October 2020.
                                                                     5   /s/Yana Hart, Esq.                              /s/ Puoy K. Premsrirut, Esq.
                                                                         Gustavo Ponce, Esq.                            Puoy K. Premsrirut, Esq.
                                                                     6   Nevada State Bar No. 15084                     Nevada State Bar No. 11187
                                                                     7   Yana Hart, Esq. (pro hac vice)                 PUOY K. PREMSRIRUT, ESQ., INC.
                                                                         KAZEROUNI LAW GROUP, APC                       520 S. Fourth Street, Second Floor
                                                                     8   6069 S. Fort Apache Road, Suite 100            Las Vegas, Nevada 89101
                                                                         Las Vegas, Nevada 89148
                                                                     9                                                  Nicole E. Lovelock, Esq.
                                                                         Attorneys for Plaintiff Angelia Lilly          Nevada State Bar No. 11187
                                                                    10
                                                                                                                        Marta D. Kurshumova, Esq.
                                                                                                                        Nevada State Bar No. 14728
PUOY K. PREMSRIRUT, ESQ., INC.




                                                                    11
                                                                                                                        JONES LOVELOCK
                          Tel: (702) 384-5563 Fax: (702) 385-6965




                                                                    12                                                  6675 S. Tenaya Way, Suite 200
                              520 South 4th Street | Second Floor




                                                                                                                        Las Vegas, Nevada 89113
                                  Las Vegas, Nevada 89101




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                                                                                                                        Attorneys for Defendant Cheyenne Medical, LLC
                                                                    15                                                  d/b/a Thrive Cannabis Marketplace

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                                                                                                                              IT IS SO ORDERED.
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                                                                    19
                                                                                                                               UNITED STATES MAGISTRATE JUDGE
                                                                    20
                                                                                                                                     October 20, 2020.
                                                                                                                              DATED:____________________________
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                                                                                                             16 Filed 10/20/20
                                                                                                                      10/15/20 Page 18 of 18
                                                                                                                                          19




                                                                     1                                                 EXHIBIT A
                                                                     2                      AGREEMENT TO BE BOUND BY PROTECTIVE ORDER
                                                                     3          1.         I hereby certify my understanding that “Confidential Material” or “Highly
                                                                     4   Confidential” may be provided to me pursuant to the terms and restrictions of the Stipulated
                                                                     5   Protective Order (the “Order”), in the civil action entitled Angelina Lilly. v. Cheyenne Medical LLC
                                                                     6   dba Thrive Cannabis Marketplace., Case No. 2:20-cv-01051-APG-BNW, in the United States
                                                                     7   District Court, District of Nevada. I further certify that I have been provided a copy of that Order,
                                                                     8   that I have read and understood it, and that I agree to comply with and be bound by its provisions.
                                                                     9          2.         I agree that I shall use Confidential or Highly Confidential Material only for the
                                                                    10   purpose of this action and for no other purpose whatsoever.
PUOY K. PREMSRIRUT, ESQ., INC.




                                                                    11          3.         I understand that the Confidential or Highly Confidential Materials, as defined in
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                                                                    12   the Order, including any notes or other records that may be made regarding any such materials,
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                                                                    13   shall not be Disclosed to anyone except as expressly permitted by the Order.
                                                                    14          4.         I shall not disclose Highly Confidential or Confidential Material, or the information
                                                                    15   contained in such material, except as permitted in the Order.
                                                                    16          5.         I further understand that I am to retain all copies of Confidential or Highly
                                                                    17   Confidential Materials provided to me in the Proceeding in a secure manner, and that all copies of
                                                                    18   such materials are to remain in my personal custody until termination of my participation in this
                                                                    19   Proceeding, whereupon the copies of such materials will be returned to counsel who provided me
                                                                    20   such materials.
                                                                    21          6.         By signing this Agreement, I hereby submit myself to the jurisdiction of United
                                                                    22   States District Court, District of Nevada, for the enforcement of these agreements and the Order.
                                                                    23          I declare under penalty of perjury that the foregoing is true and correct.
                                                                    24          Agreed to this _______ day of ____________________, 20_______.
                                                                    25

                                                                    26
                                                                         [Signature]                                                     [Type or Print Name]
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